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                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF RHODE ISLAND


  JOHN DOE,
                            Plaintiff,

  v.                                                              Civ. No.: 15-cv-00144-S-LDA

  BROWN UNIVERSITY,
                Defendant.

                                         DISMISSAL STIPULATION

             Plaintiff John Doe and Defendant Brown University stipulate as follows:

             1.      Plaintiff and Defendant have agreed to the Court’s entry of a separately filed

 Consent Decree and Final Judgment regarding the Breach of Contract claim pled in Count III of

 Plaintiff’s Complaint.

             2.      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendant

 stipulate that all other counts and prayers for relief pled in Plaintiff’s Complaint are hereby dismissed

 with prejudice and without costs.


    JOHN DOE                                            BROWN UNIVERSITY

    By His Attorneys,                                   By Its Attorney,

    /s/ Andrew T. Miltenberg
    /s/ Tara Davis                                      /s/ Steven M. Richard
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